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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RILEY GAINES, et al.,                         )
                                              )
                       Plaintiffs,            )
                                              )
                                              ) Case No. 1:24-cv-01109-MHC
                                              )
                v.                            )
                                              )
NATIONAL COLLEGIATE ATHLETIC                  )
ASSOCIATION, et al.,                          )
                                              )
                       Defendants.
                                              )



              UNOPPOSED MOTION TO EXTEND TIME TO
         RESPOND TO PLAINTIFFS’ CLASS ACTION COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 6(b)(1), Defendant National

Collegiate Athletic Association (“NCAA”) respectfully requests that this Court enter

an order extending the deadline for the NCAA to answer or otherwise respond to

Plaintiffs’ Class Action Complaint (the “Complaint”) by an additional thirty (30)

days, through and including May 6, 2024. Counsel for the NCAA has conferred

with counsel for Plaintiffs regarding this requested extension, and Plaintiffs have

authorized the NCAA to indicate that they do not oppose the requested extension.

       Plaintiffs filed the Complaint on March 14, 2024. (Dkt. 1). The NCAA was

served with a copy of the summons and complaint on March 15, 2024. (Dkt. 9).
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Therefore, the NCAA’s deadline to answer or otherwise respond to the Complaint

currently is April 5, 2024. See Fed. R. Civ. P. 12 (a)(1)(A)(i). The relief requested

by this Motion would extend this deadline to and including May 6, 2024.

       Federal Rule of Civil Procedure 6(b)(1)(A) allows a court to extend

deadlines, including the time within which to respond to a Complaint, upon a

showing of “good cause.” The NCAA respectfully submits that good cause exists

for granting the NCAA the requested 30-day extension to answer or otherwise

respond to the Complaint. The NCAA just retained the undersigned counsel this

week to handle this matter, and outside counsel for the NCAA is working diligently

to review, analyze, and investigate the allegations asserted in the Complaint. See

Miles v. Samsara Networks, Inc., No. 1:23-CV-1040-SDG-CCB, 2023 U.S. Dist.

LEXIS 126381, at *3 (N.D. Ga. July 18, 2023) (finding good cause existed to extend

the answer deadline where defendant recently retained counsel and counsel needed

additional time to consider the complaint); Hughes v. Fulton Cty., No. 1:16-CV-

01912-CAP-JFK, 2016 U.S. Dist. LEXIS 206060, at *3 (N.D. Ga. Sep. 21, 2016)

(granting the consent motion for an extension of time to respond to the amended

complaint); Parnell v. CashCall, Inc., No. 4:14-cv-00024-HLM, 2016 U.S. Dist.

LEXIS 186832, at *1 (N.D. Ga. Mar. 28, 2016) (granting the consent motion for an

extension of time to respond to the second amended complaint).



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       Plaintiffs have filed a lengthy Complaint that raises complex factual and legal

issues. The Complaint totals 156 pages and consists of 581 paragraphs of factual

allegations. See generally (Dkt. 1).     Given the length and complexity of the

Complaint, the NCAA seeks an extension to allow it sufficient time to more fully

investigate the allegations raised in the Complaint, conduct necessary research into

the legal issues presented, and prepare its responsive pleading.

       Pursuant to Judge Mark H. Cohen’s Standing Order, counsel for the NCAA

has conferred with counsel for Plaintiffs, and Plaintiffs do not oppose the requested

extension. See Standing Order Regarding Civil Litigation § 2. This is the first

extension requested by the NCAA to file a responsive pleading to the Complaint,

and this Motion is not made for any improper purpose or for delay. Moreover, the

requested extension of time will not have any effect on any other deadlines in this

case because the Court has not entered a scheduling order and the case was just

recently filed.

       For the reasons set forth herein, good cause exists to grant the NCAA’s

Unopposed Motion for Extension of Time. The NCAA, therefore, respectfully

requests that the Court grant the NCAA’s motion and extend the deadline for it to

answer or otherwise respond to the Complaint by 30 days, to and including May 6,

2024. A proposed order is attached hereto as Exhibit A for the Court’s convenience.



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Respectfully submitted this 4th day of April, 2024.

                              ALSTON & BIRD LLP

                              /s/ Christopher C. Marquardt
                              Christopher C. Marquardt
                              Georgia Bar No. 471150
                              chris.marquardt@alston.com
                              Cari K. Dawson
                              Georgia Bar No. 213490
                              cari.dawson@alston.com
                              John E. Stephenson, Jr.
                              Georgia Bar No. 679825
                              john.stephenson@alston.com

                              One Atlantic Center
                              1201 West Peachtree Street
                              Atlanta, GA 30309
                              Phone: (404) 881-7000
                              Fax: (404) 881-7777


                              Counsel for Defendant National Collegiate
                              Athletic Association




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, I hereby certify that this brief has been prepared

in Times New Roman, 14-point font, one of the font and point selections approved

by this Court in Local Rule 5.1C.

                                      /s/ Christopher C. Marquardt
                                       Christopher C. Marquardt




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, I caused the foregoing to be electronically

filed with the Clerk of Court using the CM/ECF system, which will send

notification of the filing to all counsel of record.

      This 4th day of April, 2024.

                                        /s/ Christopher C. Marquardt
                                        Christopher C. Marquardt
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                  Exhibit A
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RILEY GAINES, et al.,                        )
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                      Plaintiffs,            )
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                                             ) Case No. 1:24-cv-01109-MHC
                                             )
               v.                            )
                                             )
NATIONAL COLLEGIATE ATHLETIC                 )
ASSOCIATION, et al.,                         )
                                             )
                      Defendants.
                                             )


[PROPOSED] ORDER GRANTING UNOPPOSED MOTION TO EXTEND
 TIME TO RESPOND TO PLAINTIFFS’ CLASS ACTION COMPLAINT


      For good cause shown, the Court hereby GRANTS Defendant National

Collegiate Athletic Association’s (“NCAA”) Unopposed Motion to Extend Time to

Respond to Plaintiffs’ Class Action Complaint. Accordingly, it is ordered that the

deadline for the NCAA to answer or otherwise respond to the Complaint (Dkt. 1) is

hereby EXTENDED to and including May 6, 2024.

       SO ORDERED, this ____ day of April, 2024.

                                             _______________
                                             Hon. Mark H. Cohen
                                             Judge, United States District Court
